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         UNITED STATES DISTRICT COURT
                                 District of Kansas
UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                 CASE NO. 6:19-cr-10079-JWB-1

RAUL HERNANDEZ-PINEDA,

                    Defendant.

                             INDICTMENT

      The Grand Jury Charges:

                                       COUNT 1

              POSSESSION, WITH THE INTENT TO DISTRIBUTE,
            A CONTROLLED SUBSTANCE -- METHAMPHETAMINE
                           21 U.S.C. ' 841(a)(1)

      On or about April 26, 2019, in the District of Kansas, the defendant,

                           RAUL HERNANDEZ-PINEDA,

knowingly and intentionally possessed, with the intent to distribute 50 grams or more of

methamphetamine, a controlled substance.
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      In violation of Title 21, United States Code, Section 841(a)(1).



                                         A TRUE BILL.


May 8, 2019                              s/Foreperson
DATE                                     FOREPERSON OF THE GRAND JURY



s/Stephen R. McAllister
STEPHEN R. McALLISTER
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